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10
11                       IN THE UNITED STATES DISTRICT COURT
12                               FOR THE DISTRICT OF ARIZONA
13
     Ivonne Carbajal,                             No. CV-24-01056-PHX-ROS
14
                           Plaintiff,             STIPULATED MOTION TO ADJUST
15
                                                  DEFENDANT THE GAP, INC.’S
16   v.                                           RESPONSIVE PLEADING
                                                  DEADLINE
17   Gap Incorporated, et al.,
18                                                (THIRD REQUEST)
                           Defendants.
19
20
21          Plaintiff Ivonne Carbajal and Defendant The Gap, Inc. jointly request an additional
22   extension of Defendant’s time to submit a responsive pleading. In support of this Motion,
23   the Parties state as follows:
24          On July 29, 2024, this Court granted the Parties’ July 29, 2024 Stipulated Motion to
25   Adjust Defendant’s Responsive Pleading Deadline, which set the deadline to respond to
26   the Complaint to August 30, 2024. Pursuant to the Court’s May 10, 2024 Order, the Parties
27   met and conferred on August 20, 2024 to discuss Defendant’s intended motion to compel
28
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 1   arbitration and Rule 12 motion. As part of their conferral, the Parties agreed to exchange
 2   information.
 3         On August 27, 2024, the Court granted the Parties’ August 27, 2024 Stipulated
 4   Motion to Adjust Defendant’s Responsive Pleading Deadline, which set the deadline to
 5   respond to the Complaint to September 30, 2024. On September 17, 2024, Defendant
 6   provided Plaintiff with certain information and documentation. In response, Plaintiff and
 7   Defendant have discussed exchanging additional information to facilitate a resolution.
 8         Based on the conferral process to date, the Parties believe that there is still a
 9   possibility that this matter can be resolved without court intervention. To that end, the
10   Parties have agreed to extend the responsive pleading deadline to October 31, 2024.
11
12   Respectfully submitted this 25th day of September 2024.
13
                                              SCHARFF PC
14                                            By:  /s/ Spencer G. Scharff
15                                                Spencer G. Scharff

16                                                   Counsel for Defendant The Gap, Inc.
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